        Case:1:20-cv-00452-BLW
        Case  21-35826, 01/05/2022, ID: 12332182,
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                     UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                          JAN 5 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
JOHN DOE; RANDALL MENGES,                          No.   21-35826

                 Plaintiffs-Appellees,             D.C. No. 1:20-cv-00452-BLW
                                                   District of Idaho,
  v.                                               Boise

LAWRENCE WASDEN, Attorney General                  ORDER
of the State of Idaho, in his official capacity;
et al.,

                 Defendants-Appellants.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

       Appellants filed a notice of intent to file publicly the opening brief and

Volumes 1, 3, and 4 of the excerpts of record (Docket Entry No. 15). See 9th Cir.

R. 27-13(f). Appellees’ unopposed motion (Docket Entry No. 18) to file under

seal the opening brief and Volumes 1, 3, and 4 is granted. The Clerk will unseal

the notice (Docket Entry No. 15-1) and file publicly the motion to seal (Docket

Entry No. 18-1). The Clerk will also file publicly Volume 2 of the excerpts of

record (Docket Entry No. 14). The Clerk will file under seal the unredacted

opening brief (Docket Entry No. 15-2), Volumes 1, 3, and 4 of the excerpts of

record (Docket Entry Nos. 15-3, 15-4, 15-5), and Appendixes I and K to the

motion to seal (Docket Entry No. 18-2).

       Within 21 days of this order, appellants must submit for public filing a

MKS/MOATT
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redacted version of the opening brief that tracks the redactions set forth in

highlighted text in the sealed opening brief. The page numbering and citations in

the public brief must remain the same as in the sealed brief.

      Appellants’ unopposed motion (Docket Entry No. 12) for an extension of

time is granted and the opening brief is deemed timely. Appellees’ unopposed

motion (Docket Entry No. 18) for an extension of time is granted and the

answering brief is due January 13, 2022. The optional reply brief is due within 21

days after service of the answering brief.




MKS/MOATT                                    2                                  21-35826
